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            UNITED STATES DISTRICT COURT
            EASTERN DISTRICT OF NEW YORK

   ANTHONY TANZA, MICHAEL S. BOSMAN,
   ROBERT T. GIANI, GARY E. SOBEK,
   CHARLES INGEL, FRED H. SMITH,                             Case No. 15-CV-04394 (JMA)(AYS)
   CARMELA A. SYZMANSKI, WILLIAM R.
   SHANNON, BARRY DUBROW, ALEXANDER                          Case No. 17-CV-03185 (JMA)(AYS)
   CIOFFI, LANA BONGIOVI, JIMMY ADKINS,
   JUSTIN A. GRIFFIN, GLENNY V. ADON, and,
   MICHAEL BONETA, DIETER KERN, DENNIS
   J. DELUCIE, ALBERT VELASQUEZ, and
   JAMES R. HETTI, on behalf of themselves and all
   others similarly situated,

                                   Plaintiffs,

                         -against-

   GARDA CL ATLANTIC, INC.,

                                   Defendant.


          DECLARATION OF JESSICA TRAVERS IN SUPPORT OF DEFENDANT’S
              RESPONSE TO PLAINTIFFS’ MOTION FOR COUNSEL FEES

           I, Jessica Travers, declare under penalties of perjury pursuant to 28 U.S.C. §1746 as

  follows:

           1.        I am counsel for Defendant in the above action. The purpose of this Declaration is

  to identify the exhibits Annexed hereto.

           2.        Attached as Exhibit 1 is a copy of the Supreme Court of the State of New York

  Appellate Division: Second Judicial Department’s Opinion and Order In the Matter of Neil M.

  Frank, Case No. 2018-06419.

           3.        Attached as Exhibit 2 is a copy of the New York State Bar Association’s

  Committee on Professional Ethics Opinion #609, dated May 10, 1990.




  4878-9153-7060.1 / 113649-1001
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  Dated this 9th day of February, 2024.




                                                 ______________________________
                                                 Jessica T. Travers, Esq.




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                                   EXHIBIT 1




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                                   EXHIBIT 2




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NEW YORK STATE BAR ASSOCIATION
Committee on Professional Ethics
Opinion #609 - 5/10/90 (31-89)
Topic: Referral fees; disbarred lawyer; ad hoc partnership
Digest: Lawyer may accept referral fee that complies with DR 2-107(A) Lawyer may pay a
disbarred former associate a share, determined on the basis of quantum meruit, of legal fees accrued
to the point of disbarment
Code: DR2-107(A), 3-101(A) 3-102(A), 7-102(A)(8)
QUESTION
(1) May a lawyer receive a referral fee from a case referred to special trial counsel?
(2) May the lawyer transmit half of any such referral fee to another lawyer formerly associated with
him or her in an ad hoc partnership, where the second lawyer has been disbarred?
OPINON
Two lawyers were associated in an ad hoc partnership on particular matters. One such matter was a
products liability personal injury case that was referred to special trial counsel. Seven years later, the
lawyer's ad hoc partner was disbarred. The following year, the products liability suit was settled.
Ad Hoc Partnership
Whether lawyers who work on the same matters are "partners" for purposes of the Code is in large
part a question of law beyond the jurisdiction of this Committee. Lawyers without formal
partnership arrangements have been held to the same ethical standards as partners. See e. g., NY.
State 437 (1976) and 65(a)(1969)(application of Canon 9 to lawyers sharing office space). We
believe that the Comment to Model Rule 1.10 correctly summarizes the general principle under the
Code (although we note that the Model Rules have not been adopted in New York),
Whether two or more lawyers constitute a firm ...can depend on the specific facts. For example, two
practitioners who share office space and occasionally consult or assist each other ordinarily would
not be regarded as constituting a firm. However, if they present themselves to the public in a way
suggesting that they are a firm or conduct themselves as a firm, they should be regarded as a firm
for purposes of the Rules. The terms of any formal agreement between associated lawyers are
relevant in determining whether they are a firm, as is the fact that they have mutual access to
confidential information concerning the clients they serve.
Indeed, two lawyers might be considered a firm for purposes of the confidentiality provisions
without being partners for purposes of avoiding the application of the fee-splitting prohibitions of
DR 2-107(A). Since the question of what constitutes a firm or partnership is so fact-intensive, we do
not answer it here.
If the associated lawyers did not constitute a partnership, then the provisions of DR 2-107(A), as
discussed below, would apply to any division of fees between them. If, however, the lawyers did
form a valid partnership, then their division of fees would be a matter of contract between them,
except to the extent modified by the rules, discussed below, on sharing fees with a disbarred lawyer.
Referral Fees
The subject of referral fees is governed by DR 2-107(A) of the Code. That rule permits a division of
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fees only where (1) the client consents to employment of another lawyer after full disclosure that a
division of fees will be made, (2) the division is in proportion to the services performed and
responsibility assumed by each, and (3) the total fee is reasonable.
The information that must be provided to the client in connection with obtaining his or her consent is
not extensive,
A client is simply to be made aware that another attorney is jointly or independently representing his
or her interests at no additional expense to her (sic) therefore. Any further elaboration or specificity
regarding the exact arrangement between the collaborating attorneys is not ethically mandated by
(DR 2-107(A)).
Garterv. Katz, Shandell, Katz & Erasmous, 12 Misc. 2d 1009,465 N.Y.S. 2d 991,997(1983)
The division of fees is more complicated. The mere forwarding of a client to another lawyer is not a
proper basis for fee splitting. N Y City 80-27 (1980), NY City 81-65 (1981), ABA Inf. 1392 (1977),
ABA Inf. 1239 (1972), ABA Formal 204 (1940), N.Y State 414 (1975) The division of fees must be
in proportion to the work performed and the responsibility assumed by each attorney. Although it is
not unethical for the lawyers to agree in advance on a proposed fee split, at the conclusion of the
matter the proportions must be adjusted if it develops that the services actually performed and
responsibility assumed by the forwarding attorney and the forwardee are grossly disproportionate to
the division of fees agreed upon at the outset. N.Y. State 414, supra. But see Garter, supra, at 997
(collaborating attorneys are entitled to share the fee equally if the referring attorney does "some"
work which contributed toward the earning of the fee); Sterling v. Miller, 2 A. D. 2d 900, 157 N YS
2d 145, aff'd, 3 NY 2d 778, 164 N YS 2d 32, 143 N. E. 2d 789 (agreement to split fees was
enforceable despite claim that forwarding attorney contributed negligibly toward the earning of the
fee, since there was no claim that he ever refused to contribute more substantially).
Whether the total fees in any matter are reasonable is a question of fact upon which this Committee
cannot opine.
If the elements of DR 2-107(A) are not met, the firm doing the legal work may not ethically pay,
and the referring firm may not ethically receive, a referral fee. Several courts have denied or reduced
fee awards to lawyers who participated in unethical or illegal fee splitting arrangements. See, e. g.,
In re Futuronics Corp., 655 F. 2d 463 (2d Cir. 1981)(fee-splitting agreement in violation of
Bankruptcy Rule 219); Lewis v. Teleprompter Corp., 88 F.R.D. 11 (S.D N Y 1980). But see, NY.
State 535 (1981); Foote v. Shapiro, 6 Pa. D & C. 3d 574 (1978)(upholding fee splitting contract, on
grounds one party may not assert illegality or unethically in order to avoid an agreement willingly
entered, although payment may subject the parties to discipline). This Committee's opinion (N Y
State 535) suggests the matter be referred to an appropriate bar association panel; we believe the
appropriate panel in this case would be the court in which the matter was pending, if it is a New
York Court, or, if the personal injury matter was tried outside New York, the New York Supreme
Court under the court rules discussed below.

The remainder of this opinion assumes that the referral fee arrangement in this case was proper.
Sharing Fees with Disbarred Lawyer
The jurisdiction of this Committee is limited to matters of professional ethics. We note, however,
that there are both court rules and judicial decisions relevant to the issue of fee sharing with a
disbarred lawyer. See, e.g. ,22 NYCRR §603.13(b)(First Dep't), 22 NYCRR §691.10(b)(Second
Dep't), 22 NYCRR §806.9(b)(Third Dep't), 22 NYCRR §1022. 26(c). For example, the rule in the
Second Department is as follows:
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A disbarred, suspended or resigned attorney may not share in any fee for legal services performed by
another attorney during the period of his removal from the bar. A disbarred, suspended or resigned
attorney may be compensated on a quantum meruit basis for legal services rendered and
disbursements incurred by him prior to the effective date of the disbarment or suspension order or of
his resignation. The amount and manner of payment of such compensation and recoverable
disbursements shall be fixed by the court on the application of either the disbarred, suspended or
resigned attorney or the new attorney, on notice to the other as well as on notice to the client. Such
applications shall be made at special term in the court wherein the action is pending or at special
term in the Supreme Court in the county wherein the moving attorney maintains his office if an
action has not been commenced.
If a proposed payment would violate a law or court rule, then it would be unethical DR 7-102(A)(8).
As a matter of ethics, as long as the disbarment was unrelated to the matter in which the fees were
earned, an attorney may properly share in fees for work performed or responsibility assumed until
the time of disbarment, but not for services performed or responsibility assumed after the time of
disbarment. DR 3-101(A). See NY City 82-45 (1982), ABA Inf. 628 (1962), NY City 538 (1940).
Cf, NY State 334 (1974) DR 3-102(A) prohibits a lawyer from sharing a legal fee with a
non-lawyer. From the time a lawyer is disbarred, he or she becomes a non-lawyer.
Similarly, in accordance with the applicable court rules, a disbarred lawyer may be compensated to
the point of disbarment on the basis of quantum meruit. In re Estate Ginnings, 96 Misc. 2d 824, 410
NYS 2d 16 (NY Sur Ct. 1978) (quoting court rule), Gavin v. Mahone, 55 A. D. 2d 704 (3d Dep't
1976)(mem.)(absent agreement as to amount and manner of compensation, suspended attorney may
be compensated on a quantum meruit basis for legal services rendered and disbursements incurred
prior to the effective date of suspension), Tiringer v. Grafenecker, 38 Misc. 2d 29 (Sup. Ct. App.
Term, 2d Dep't 1962)(per curiam) (disbarred attorney entitled to lien for reasonable value of services
rendered prior to disbarment absent showing that disbarment was for conduct in connection with
case in question.
The amount of such compensation is to be fixed by the court, which must decide what proportion of
the contingency fee was earned prior to the disbarment of the lawyer.
CONCLUSION
For the reasons set forth above, a lawyer may accept a referral fee that complies with DR 2-107(A).
In addition, a lawyer may pay a disbarred former associate a share, determined by the appropriate
court on the basis of quantum meruit, of legal fees accrued to the point of disbarment.
